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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

RICK HARRISON, JOHN BUCKLEY III,
MARGARET LOPEZ, ANDY LOPEZ,                             Case No. 1:13-cv-03127 (AT)
KEITH LORENSEN, LISA LORENSEN,
EDWARDS LOVE, ROBERT MCTUREOUS,
DAVID MORALES, GINA MORRIS,                             PETITION FOR TURNOVER ORDER
MARTIN SONGER, JR., SHELLY SONGER,                      AGAINST BNP PARIBAS PURSUANT TO
JEREMY STEWARD, KESHA STIDHAM,                          28 U.S.C. § 1610(g), CPLR § 5225(b) AND
AARON TONEY, ERIC WILLIAMS, CARL                        FEDERAL RULE OF CIVIL
WINGATE, AND TRACY SMITH, as Personal                   PROCEDURE RULE 69(a)
Representative of the Estate of Rubin Smith,

               Plaintiffs,

vs.

THE REPUBLIC OF SUDAN,                                    REDACTED PURSUANT TO
                                                          PROTECTIVE ORDER
               Defendant,

vs.

BNP PARIBAS,

               Respondent.


       Plaintiffs, Rick Harrison, John Buckley III, Margaret Lopez, Andy Lopez, Keith

Lorensen, Lisa Lorensen, Edwards Love, Robert McTureous, David Morales, Gina Morris,

Martin Songer, Jr., Shelly Songer, Jeremy Steward, Kesha Stidham, Aaron Toney, Eric

Williams, Carl Wingate, and Tracy Smith, as Personal Representative of the Estate of Rubin

Smith (“Plaintiffs” or “Petitioners”), petition this Court to enter an Order, pursuant to 28 U.S.C.

§ 1610(g), New York Civil Practice Law and Rules § 5225(b), and Federal Rules of Civil

Procedure Rule 69(a), directing BNP Paribas to turn over to Plaintiffs the blocked accounts in its

possession belonging to certain agencies and instrumentalities of the Republic of Sudan,

identified herein, in partial satisfaction of their judgment.



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                                        BACKGROUND

       On October 12, 2000, seventeen American sailors perished onboard the U.S.S. Cole in

Yemen as the result of an Al Qaeda terrorist attack. The attack was made possible by the

material support and assistance provided by the Republic of Sudan. As a consequence of the

Sudan’s participation in the development of Al Qaeda and its material support leading to this

terrorist event, the United States District Court for the District of Columbia entered a final

judgment in favor of Petitioners, awarding $314,705,896 (the “Judgment”). The entire principal

amount of the Judgment remains unsatisfied. Petitioners registered the Judgment in this district

on October 2, 2013 in the related case No. 1:12-mc-00328-P1.

       The Judgment was entered pursuant to the terrorism exception to the Foreign Sovereign

Immunities Act (“FSIA”), 28 U.S.C. § 1605A. As demonstrated herein, judgments obtained

pursuant to the terrorism exception may be satisfied by executing against funds in which the

Republic of Sudan, or any of its agencies or instrumentalities, has an interest. On September 20,

2013, this Court determined that all conditions precedent to Plaintiffs’ request to execute against

assets of the Republic of Sudan have been met, including providing proper notification of the

default judgment to Sudan. The Court authorized Plaintiffs to seek attachment of frozen assets

located within this jurisdiction using post-judgment enforcement procedures.

       BNP Paribas holds funds in accounts owned by agencies of the Republic of Sudan.

Pursuant to the FSIA, the Plaintiffs are entitled to execute against these funds. Accordingly,

Petitioners file this turnover petition and respectfully request that the Court direct BNP Paribas to

turn over the funds identified herein in satisfaction of the Judgment.1




1
 Undersigned counsel has spoken with Theresa DeLace in the Litigation Department of BNP
Paribas and Ms. DeLace agreed to accept service of this Petition.

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                                 MEMORANDUM OF LAW

       Petitioners will establish the following by this memorandum: (a) any property in which

Sudan or its agencies or instrumentalities have any interest is subject to attachment and

execution; (b) the entities to which the funds identified in this motion belong are agencies of

Sudan and, accordingly, those funds are subject to attachment and execution in satisfaction; (c)

Petitioners have satisfied their obligations under CPLR § 5225 and 28 U.S.C. § 1610(c) by

providing Sudan with notice of this proceeding; and (d) no OFAC license is necessary to

disburse the funds subject to attachment and execution.

       a.       Property in which Sudan or its Agencies or Instrumentalities have an
                Interest is Subject to Turnover in Satisfaction of the Judgment.

       Sudan is a designated state sponsor of terrorism and Petitioners obtained their Judgment

against Sudan pursuant to 28 U.S.C. §1605A, the terrorism exception to the FSIA. Judgment-

creditors of state sponsors of terrorism are afforded a wide range of property that may be

attached and executed upon in satisfaction of those judgments. Section 1610(g) of the FSIA,

enacted in 2008, provides:

       [T]he property of a foreign state against which a judgment is entered under
       section 1605A, and the property of an agency or instrumentality of such a
       state, including property that is a separate juridical entity or is an interest
       held directly or indirectly in a separate juridical entity, is subject to
       attachment in aid of execution, and execution, upon that judgment as provided
       in this section, regardless of--

       (A) the level of economic control over the property by the government of the
       foreign state;
       (B) whether the profits of the property go to that government;
       (C) the degree to which officials of that government manage the property or
       otherwise control its daily affairs;
       (D) whether that government is the sole beneficiary in interest of the property; or
       (E) whether establishing the property as a separate entity would entitle the foreign
       state to benefits in United States courts while avoiding its obligations.

28 U.S.C. § 1610(g) (emphasis added).


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       Interpreting this provision, courts have found that judgment creditors of state sponsors of

terrorism may execute against “any U.S. property in which [the terrorist state] has any interest.”

See, e.g., Estate of Heiser v. Islamic Republic of Iran, 807 F .Supp. 2d 9, 18 (D.D.C. 2011)

(citing Peterson v. Islamic Republic of Iran, 627 F. 3d 1117, 1123 n.2 (9th Cir. 2010)). “[T]he

only requirement for attachment or execution of property is evidence that the property in

question is held by a foreign entity that is in fact an agency or instrumentality of the foreign state

against which the Court has entered judgment.” Id. at 19. The property Petitioners seek herein is

property of an agency or instrumentality of Sudan, and property in which Sudan has an interest.

Accordingly, the property identified herein is attachable under the FSIA and subject to

execution.

       b.       The Entities Identified in this Motion                are    Agencies    and
                Instrumentalities of the Republic of Sudan.

       The funds Petitioners seek to attach are owned by agencies and instrumentalities of the

Republic of Sudan. As defined in Part 538 of the Sudanese Sanctions and Regulations:

       The term Government of Sudan includes:

       (1) The state and the Government of Sudan, as well as any political subdivision,
           agency, or instrumentality thereof, including the Central Bank of Sudan;
       (2) Any entity owned or controlled by the foregoing;
       (3) Any person to the extent that such person is, or has been, or to the extent that
           there is reasonable cause to believe that such person is, or has been, since the
           effective date, acting or purporting to act directly or indirectly on behalf of
           any of the foregoing; and
       (4) Any other person determined by the Director of the Office of Foreign
           Assets Control to be included within paragraphs (a)(1) through (a)(3) of
           this section.

31 C.F.R. § 538.305 (emphasis added). Additionally, Section 1603(b) of the FSIA defines an

agency or instrumentality as an entity:

                (1) which is a separate legal person, corporate or otherwise, and
                (2) which is an organ of a foreign state or political subdivision


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                 thereof, or a majority of whose shares or other ownership interest is
                 owned by a foreign state or political subdivision thereof, and
                 (3) which is neither a citizen of a State of the United States as
                 defined in section 1332(c) and (e) of this title, nor created under the
                 laws of any third country.

28 U.S.C. § 1603(b).

        The following entities fall within the definition of an agency and instrumentality of the

Republic of Sudan because they are separate legal entities owned or controlled by the Republic

of Sudan.



                          , also known as                                                 , is an agency and

instrumentality of the Sudanese government.                Executive Order 13067 entered by President

Clinton specifically defines                      as being “owned or controlled by the Government of

Sudan.”2 See Exhibit “A.”                             also remains on the list of Specially Designated

Nationals of Sudan (the “SDN List”). See Exhibit “B.” The SDN List is a list published by the

Office of Foreign Asset Control (“OFAC”) which identifies “individuals and companies owned

or controlled by, or acting for or on behalf of, targeted countries.” See Exhibit “C.” OFAC

recognizes that                     is also known as                                                  and both

entities names are agencies and instrumentalities of Sudan. See Exhibit “B.” Moreover, officials

with                   have publicly identified the bank as “government owned.” See Exhibit “D.”

        Based on the foregoing, Petitioners submit that

                       is an agency and instrumentality of Sudan because the bank is a separate

legal entity which is owned or controlled by the Government of Sudan, and acts as an organ of


2
  On December 2, 1997, and pursuant to the International Emergency Economic Powers Act (50 U.S.C. §§ 1701 and
1703), President Clinton signed Executive Order 13067 which designated Sudan as a State Sponsor of Terrorism and
froze the assets of Sudan, its agencies and instrumentalities.


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the Government of Sudan. Respondent, BNP Paribas, holds accounts blocked pursuant to OFAC

regulations which are owned by                        .   Accordingly, pursuant to the FSIA, the

following accounts should be immediately turned over to the Petitioners in satisfaction of their

judgment:

Respondent Bank          Account Beneficiary        Blocking Date           Value
                                                                            (as of June 30, 2012)

BNP Paribas


BNP Paribas

BNP Paribas


BNP Paribas


BNP Paribas




                                                            is an agency and instrumentality of the

Sudanese government (the “Ministry”). Ministries and embassies of a state-sponsor of terrorism

are considered agencies and instrumentalities of the state and assets owed to those ministries are

subject to attachment and execution under TRIA. Hill v. Republic of Iraq, No. 1:99-cv-03346

(TP), 2003 WL 21057173 (D.D.C. March 11, 2003). Moreover, even if those ministries could be

entitled to immunity under any other law or international treaty, the language of TRIA

“effectively supersedes all previous laws.” See id. at *2 (finding TRIA preempts the Vienna

Convention on Diplomatic Relations and awarding funds owned by the Embassy of Iraq and held

by a garnishee bank to judgment creditors of Iraq).



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          Accordingly, pursuant to Section 1610(g) of FSIA and Section 201(a) of TRIA, the

following accounts should be immediately turned over to the Petitioners in satisfaction of their

judgment:

Respondent Bank          Account Beneficiary         Blocking Date          Value
                                                                            (as of June 30, 2012)

BNP Paribas


BNP Paribas


BNP Paribas


BNP Paribas




                              is an agency and instrumentality of the Sudanese government.

Executive Order 13067 entered by President Clinton specifically defines                         as

being “owned or controlled by the Government of Sudan.” See Exhibit “A.”

is also                       . See Exhibit “E.” The objectives of              under the

          Act of 2002 are performing governmental functions such as issuing currency and

consulting with the Ministry of Finance and National Economy to issue monetary and financing

policies. Id.                       also remains on the list of Specially Designated Nationals of

Sudan (the “SDN List”). See Exhibit “F.” The SDN List is a list published by the Office of

Foreign Asset Control (“OFAC”) which identifies “individuals and companies owned or

controlled by, or acting for or on behalf of, targeted countries.” See Exhibit “C.”

          Based on the foregoing, Petitioners submit that                       is an agency and



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instrumentality of Sudan because             is a separate legal entity which is owned or controlled

by the Government of Sudan, and acts as an organ of the Government of Sudan. Respondent,

BNP Paribas, holds accounts blocked pursuant to OFAC regulations which is owned by

      . Accordingly, pursuant to the FSIA, the following accounts should be immediately turned

over to the Petitioners in satisfaction of their judgment:

Respondent Bank           Account Beneficiary         Blocking Date         Value
                                                                            (as of June 30, 2012)

BNP Paribas

BNP Paribas




                                    , formerly known as

               is an agency and instrumentality of Sudan. Executive Order 13067 entered by

President Clinton specifically defines                                                             as

being “owned or controlled by the Government of Sudan.” See Exhibit “A.” On August 2,

2004, the United States Department of Treasury officially recognized that

                                         changed its name and the Department of Treasury now

recognizes it as

                                                . See Exhibit “G.”

       Additionally, Farmers Commercial Bank remains on the list of Specially Designated

Nationals of Sudan (the “SDN List”). See Exhibit “H.” The SDN List is a list published by the

Office of Foreign Asset Control (“OFAC”) which identifies “individuals and companies owned

or controlled by, or acting for or on behalf of, targeted countries.” See Exhibit “C.”

       Based on the foregoing, Petitioners submit that                                   is an agency



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and instrumentality of Sudan because the bank is a separate legal entity which is owned or

controlled by the Government of Sudan. Respondent, the National Bank of Egypt, holds an

account blocked pursuant to OFAC regulations which is owned by                                           .

Accordingly, pursuant to the FSIA, the following account should be immediately turned over to

the Petitioners in satisfaction of their judgment:

Respondent Bank           Account Beneficiary            Blocking Date           Value
                                                                                 (as of June 30, 2012)

BNP Paribas




                             is an agency and instrumentality of Sudan. Executive Order 13067

entered by President Clinton specifically defines                                 as being “owned or

controlled by the Government of Sudan.” See Exhibit “A.” In 1970,                                   was

acquired by the government of Sudan. See Exhibit “I.” Although a                  ownership interest in

the                      was sold in        to                           , the accounts which Plaintiffs

seek turned over were blocked in            and           , prior to the sale. Pursuant to 31 C.F.R. §

515.203, any attempt to change ownership of a blocked account is null and void. Accordingly,

the following blocked accounts remain owned by the Sudanese government and should be turned

over to Petitioners in satisfaction of their judgment:

Respondent Bank           Account Beneficiary            Blocking Date           Value
                                                                                 (as of June 30, 2012)

BNP Paribas

BNP Paribas




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                                                                           is an agency and

instrumentality of Sudan.            remains on the list of Specially Designated Nationals of

Sudan (the “SDN List”). See Exhibit “J.” The SDN List is a list published by the Office of

Foreign Asset Control (“OFAC”) which identifies “individuals and companies owned or

controlled by, or acting for or on behalf of, targeted countries.” See Exhibit “C.” Based on the

foregoing, Petitioners submit that        is an agency and instrumentality of Sudan because the

bank is a separate legal entity which is owned or controlled by the Government of Sudan, and

acts as an organ of the Government of Sudan. Respondent, BNP Paribas, holds accounts blocked

pursuant to OFAC regulations which is owned by            . Accordingly, pursuant to the FSIA,

the following accounts should be immediately turned over to the Petitioners in satisfaction of

their judgment:

Respondent Bank          Account Beneficiary     Blocking Date           Value
                                                                         (as of June 30, 2012)

BNP Paribas



BNP Paribas



BNP Paribas




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       c.      Petitioners Have Satisfied Their Obligations under CPLR § 5225 and
               28 U.S.C. § 1610(c) by Providing Sudan with Notice of this
               Proceeding.

       In post-judgment proceedings to enforce a money judgment in federal court, execution

procedures “must accord with the procedure of the state where the court is located, but a federal

statute governs to the extent it applies.” Fed. R. Civ. P. 69. Under New York law, CPLR § 5225

provides that a judgment holder may commence a special proceeding3 against a third-party in

possession of a debtor’s funds and:

               where it is shown that the judgment debtor is entitled to the
               possession of such property . . . the court shall require such person
               to pay the money, or so much of it as is sufficient to satisfy the
               judgment, to the judgment creditor . . . .

CPLR § 5225(b); see also United Int’l Holdings, Inc. v. The Wharf (Holdings) Ltd., 988 F.Supp.

367 (S.D.N.Y. 1997) (holding to obtain payment of a judgment from a third party in possession

of debtor’s property, creditor must show (1) that debtor has interest in the property that creditor

seeks to attach, and (2) either that debtor is entitled to possession of property, or that creditor’s

rights are superior to those of the possessing party). The statute also requires notice to be

provided to the judgment debtor to allow for possible intervention. See CPLR § 5225(b).

       On May 31, 2013, Plaintiffs filed a Motion for Entry of Order Finding Sufficient Time

has Passed to Seek Attachment and Execution of Defendant/Judgment Debtor’s Assets and

Authorizing Plaintiffs to Attach Defendant/Judgment Debtor’s Assets Within This Jurisdiction

Pursuant to 28 U.S.C. § 1610(c) (the “1610(c) Motion”). In the 1610(c) Motion, Petitioners

demonstrated that they strictly complied with all requirements under the FSIA for providing

3
  Courts in this Circuit have found that the initiation of a “special proceeding” is not required in
federal court and judgment-creditors can instead file a motion for turnover. See, e.g., Northern
Mariana Islands v. Millard, 845 F. Supp. 2d 579, 581 (S.D.N.Y. 2012) (“Nearly every court in
this Circuit to consider the issue has held that parties can bring a motion under FRCP 69(a),
rather than instituting a special proceeding under the New York state law.”).

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proper notice to Sudan. On September 20, 2013, this Court granted the 1610(c) Motion and

concluded that Petitioners provided proper notification of the default judgment to Sudan.

Accordingly, Petitioners have satisfied their obligations to provide notice under CPLR § 5225.

         Following entry of the Judgment by the District Court for the District of Columbia,

Petitioners served the Office of Foreign Asset Control (“OFAC”) of the Department of the U.S.

Treasury with a subpoena seeking a list of all financial institutions holding assets in the United

States that are blocked due to a nexus with the Government of the Republic of Sudan. Prior to

providing its response, OFAC through the Department of Justice demanded that a protective

order be entered governing the disclosure of information provided in response to Petitioners’

subpoena. The Petitioners agreed to OFAC’s demand and a protective order was provided to the

Court and entered on August 15, 2012. (See Harrison, et al. v. Republic of Sudan, Case No. 10-

cv-01689 (D.D.C.) at ECF No. 47).

       In its response to Petitioners’ subpoena, OFAC identified a number of financial

institutions holding assets of the Defendant, including Respondent, BNP Paribas.               After

receiving information from OFAC that BNP Paribas was holding assets of the Defendant in its

New York branch, Petitioners issued a subpoena to BNP Paribas, requesting detailed information

regarding the assets of the Defendant in its possession. BNP Paribas responded to Petitioners by

providing information regarding frozen accounts within its possession, identifying the accounts

that are the subject of this turnover petition. (See BNP Paribas’s Response to Information

Subpoena and Restraining Notice attached as Exhibit “K”). As described in detail above, BNP

Paribas is holding property that belongs to an agency and instrumentality of the Republic of

Sudan. Accordingly, pursuant to Fed.R.Civ.P. 69(a), CPLR § 5225(b), and 28 U.S.C. 1610(g),

the subject property must be turned over to Petitioners in partial satisfaction of their Judgment.



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       d.      An OFAC License is Not Necessary and No Notice is Required to the
               Agencies and Instrumentalities.

       The funds that are the subject of this motion are in accounts frozen pursuant to OFAC

regulations because the funds are owned by an agency of Sudan, a state sponsor of terrorism. In

certain circumstances, the Department of Treasury requires an OFAC license to release funds

held in an OFAC-blocked account. However, the United States has officially taken the position

that no OFAC license is necessary to release blocked funds to judgment creditors of a terrorist

party; rather, a court order is sufficient. In Heiser v. Bank of Tokyo Mitsubishi UFJ, New York

Branch, 919 F. Supp. 2d 411 (S.D.N.Y. 2013), the United States submitted a Statement of

Interest concluding that “in the event a court determines that blocked assets are subject to TRIA,

those funds may be distributed without a license from OFAC.” Id. at 422.4 The United States

took the same position in Weininger v. Castro, 432 F. Supp. 2d 457 (S.D.N.Y. 2006).

Accordingly, the Court in Heiser concluded that an OFAC license was not necessary to release

the OFAC blocked funds to the Heiser judgment creditors. Moreover, Petitioners note that a

copy of this Petition is being submitted to OFAC as required by 31 C.F.R. § 501.605.

       Additionally, the agencies and instrumentalities identified in this motion are “not a

necessary party” to this proceeding, and no notice is required to them. Heiser v. Islamic

Republic of Iran, 807 F. Supp. 2d 9, 23 (D.D.C. 2011). The Court in Heiser denied a request to

implead an Iranian agency and instead concluded that “the FSIA does not require any provision

of special notice to [the agency].” Id. at 23. The Court found that the FSIA only provides that a

copy of the default judgment be served on the defendants and there is no requirement to serve

additional post-judgment motions. Id. Further, the Court held that “[t]he explicit exclusion of
4
  TRIA, the Terrorism Risk Insurance Act, was the precursor to Section 1610(g) of the FSIA.
Section 1610(g) greatly expanded the categories of property that can be attached by judgment-
creditors of state sponsors of terrorism. Heiser v. Islamic Republic of Iran, 807 F. Supp. 2d 9, 18
(D.D.C. 2011).

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 attachments and executions under    § 1610(g) from the notice requirement is further evidence that
 Congress did not intend to require service of garnishment writs on agencies or

instrumentalities offoreign states responsible for acts of state-sponsored terrorism under

1605A.” Id (emphasis added). This Court has already determined that Sudan has been properly

notified of the default judgment. Accordingly, notice to the agencies and instrumentalities of this

petition for turnover is not required.

                                          CONCLUSION

        The Petitioners have satisfied all procedural requirements for the turnover of the funds

listed above. Pursuant to the FSIA, these funds are subject to execution to satisfy the outstanding

judgment.    The Petitioners respectfully request that this Court enter an Order directing BNP

Paribas to turn over to Petitioners the funds identified in this motion to the extent necessary to

satisfy this judgment.



Dated: October   ,       2013


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                                              A ttorneys for Plaintiffs/Petitioners

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                               CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the forgoing was filed

electronically on the Court’s ECF System and delivered via U.S. mail on this ___ day of

October, 2013 to:

Republic of Sudan
Ali Ahmed Karti
Minister of Foreign Affairs
Embassy of the Republic of Sudan
2210 Massachusetts Avenue NW
Washington, DC 20008

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                                                      /s/ Edward H. Rosenthal




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